              Case 2:20-cv-01024-RSL Document 43 Filed 04/20/21 Page 1 of 5




1

2

3

4

5

6
                                  UNITED STATES DISTRICT COURT
7
                                 WESTERN DISTRICT OF WASHINGTON
8
                                           AT SEATTLE

9
     PAUL BARRACLIFFE, II,
10                                                       NO. C20-1024-RSL
11
                                 Plaintiff,
                                                         JOINT STIPULATED MOTION AND
            vs.                                          ORDER REGARDING DEADLINE FOR
12
                                                         EXPERT REPORTS
13   SNOHOMISH COUNTY SHERIFF ADAM
     FORTNEY, and his marital community; et al.
14

15
                                 Defendants.

16          COMES NOW Plaintiff, by and through his counsel Ada Wong, Jordan Wada, and Isabel
17   Johnson; Defendants Snohomish County and Sheriff Adam Fortney, Deputy Nathan Smith,
18
     Deputy Jason Harris, Deputy Ronald Smarr, by and through their counsel Deputy Prosecuting
19
     Attorneys Margaret Duncan and Deborah Severson; and Defendants Matthew Boice and Arthur
20

21
     Wallin, by and through their counsel Shannon Ragonesi and Paul Triesch; and hereby jointly

22   move the Court to extend the current deadline for reports from expert witnesses under FRCP

23   26(a)(2) from July 7, 2021 to August 6, 2021.
24
            The necessity of this joint stipulated motion results from the following facts:
25
            1. Plaintiff’s complaint was filed July 1, 2020. Discovery cut off is September 5, 2021.
26
                  Expert witness reports are due July 7, 2021.
27
                                                                             SNOHOMISH COUNTY
     JOINT STIPULATED MOTION AND [PROPOSED] ORDER                  PROSECUTING ATTORNEY - CIVIL DIVISION
     REGARDING DEADLINE FOR EXPERT REPORTS - 1                         Robert Drewel Bldg., 8th Floor, M/S 504
                                                                                3000 Rockefeller Ave
     C20-1024-RSL                                                      EVERETT, WASHINGTON 98201-4060
                                                                         (425)388-6330/FAX: (425)388-6333
                Case 2:20-cv-01024-RSL Document 43 Filed 04/20/21 Page 2 of 5




           2. On October 9, 2020, Defendant Snohomish County served its First Interrogatories and
1

2                Requests for Production of Documents on Plaintiff. That discovery included requests

3                that Plaintiff identify all claimed injuries as a result of the incident alleged, identify
4
                 all providers from whom he has received evaluation or treatment for a period of ten
5
                 years, and provide copies of records from those providers. In response, Plaintiff
6
                 identified four providers.
7

8
           3. On January 8, 2021, Plaintiff, and counsel for the other parties, cooperatively

9                stipulated to a release of the records for the four providers identified by Plaintiff in
10               discovery, as well as other providers learned of through Defendant’s own
11
                 investigation. Defendant has received a portion of the records from providers in the
12
                 stipulated release. A review of those records received to date has identified other
13

14
                 providers not previously identified by the Plaintiff in his discovery responses.

15               Defendant has requested that Plaintiff stipulate to release records of those providers

16               not previously identified in discovery. Plaintiff is in the process of obtaining those
17
                 records.
18
           4. In Plaintiff’s January 26, 2021 Initial Disclosures production, Plaintiff produced 140
19
                 pages of medical records that were in his possession. Plaintiff produced additional
20

21               medical records in his February 22, 2021 supplemental production, March 25, 2021

22               supplemental production, and April 6, 2021 supplemental production.
23
           5.    Plaintiff continues to collect, but has not yet received, all of his relevant medical
24
                 records, and his diligent efforts to obtain those records is ongoing.
25

26

27
                                                                               SNOHOMISH COUNTY
     JOINT STIPULATED MOTION AND [PROPOSED] ORDER                    PROSECUTING ATTORNEY - CIVIL DIVISION
     REGARDING DEADLINE FOR EXPERT REPORTS - 2                           Robert Drewel Bldg., 8th Floor, M/S 504
                                                                                  3000 Rockefeller Ave
     C20-1024-RSL                                                        EVERETT, WASHINGTON 98201-4060
                                                                           (425)388-6330/FAX: (425)388-6333
             Case 2:20-cv-01024-RSL Document 43 Filed 04/20/21 Page 3 of 5




           6. At the request of counsel for the County, and after two separate conferences of
1

2             counsel, on February 24, 2021, Plaintiff served Third Supplemental Responses to the

3             County’s discovery requests. In the Third Supplemental Responses, Plaintiff claims
4
              “trauma to his brain, brain damage, psychological distress, post-traumatic stress
5
              disorder,   worsening       of   his     bipolar   disorder,     worsened         feelings         of
6
              detachment/estrangement from others, paranoia, exaggerated started response to
7

8
              certain movements and noises, hypervigilance, strong negative feelings including but

9             not limited to depression, suicidal thoughts, guilt, and other self-directive negative
10            ideations”, together with other physical injuries as a result of the incident alleged in
11
              the complaint. In 2008, prior to the 2018 incident that is the subject of this action,
12
              Plaintiff suffered a traumatic brain injury (TBI) for which he received medical
13

14
              evaluation and treatment.

15         7. Defendants continue to collect, but have not yet received, all of Plaintiff’s relevant

16            medical records despite their diligent efforts to obtain those records, including records
17
              regarding Plaintiff’s prior evaluation and treatment for the 2008 TBI. Medical records
18
              not yet received may reveal additional providers, requiring Defendants to seek
19
              additional releases for those records.
20

21         8. Defendant Snohomish County has retained medical experts. Those experts have

22            requested copies of Plaintiff’s records, including the records relating to Plaintiff’s TBI
23
              in 2008. Because of the delay in receipt of Plaintiff’s medical records, Defendant’s
24
              medical experts are unable to provide written reports by the July 7, 2021 deadline.
25

26

27
                                                                             SNOHOMISH COUNTY
     JOINT STIPULATED MOTION AND [PROPOSED] ORDER                  PROSECUTING ATTORNEY - CIVIL DIVISION
     REGARDING DEADLINE FOR EXPERT REPORTS - 3                         Robert Drewel Bldg., 8th Floor, M/S 504
                                                                                3000 Rockefeller Ave
     C20-1024-RSL                                                      EVERETT, WASHINGTON 98201-4060
                                                                         (425)388-6330/FAX: (425)388-6333
                Case 2:20-cv-01024-RSL Document 43 Filed 04/20/21 Page 4 of 5




            As this is a joint stipulated motion, the parties have conferred regarding the contents of
1

2    this motion, and all parties are in agreement that the above factors meet the good cause

3    requirement established in the rules and the Court’s Minute Order for Setting Trial Date and
4
     Related Dates for amending a court’s scheduling order and request an order be entered extending
5
     the deadline for reports from expert witnesses under FRCP 26(a)(2) from July 7, 2021 to August
6
     6, 2021.
7

8

9
     DATED this 15th day of April 2021.            DATED this 15th day of April 2021.
10
     AKW LAW, P.C.                                 ADAM W. CORNELL
11                                                 Snohomish County Prosecuting Attorney
12
     By: _/s/Jordan T. Wada_              _____    By: _/s/Margaret A. Duncan____________
13   Ada K. Wong, WSBA #45936                      MARGARET A. DUNCAN, WSBA #47876
     Jordan T. Wada, WSBA #54937                   DEBORAH A. SEVERSON, WSBA #35603
14   Attorneys for Plaintiff Paul Barracliffe II   Deputy Prosecuting Attorneys
                                                   Attorneys for Defendants Snohomish County,
15
                                                   Adam Fortney, Jason Harris, Nathan Smith
16
                                                   and Ronald Smarr

17
     DATED this 15th day of April 2021.            DATED this 16th day of April 2021.
18

19   KEATING, BUCKLIN &                            LAW OFFICE OF ISABEL JOHNSON,
     McCORMACK, INC., P.S.                         PLLC
20

21
                                                   By: _/s/Isabel S. Johnson________________
     By:_/s/Shannon M. Ragonesi_________           Isabel S. Johnson, WSBA #54265
     Shannon M. Ragonesi, WSBA #31951              Co-Counsel for Plaintiff
22
     Paul J. Triesch, WSBA #17445
23   Attorneys for Arthur Wallin and Matthew
     Boice
24

25

26

27
                                                                            SNOHOMISH COUNTY
     JOINT STIPULATED MOTION AND [PROPOSED] ORDER                 PROSECUTING ATTORNEY - CIVIL DIVISION
     REGARDING DEADLINE FOR EXPERT REPORTS - 4                        Robert Drewel Bldg., 8th Floor, M/S 504
                                                                               3000 Rockefeller Ave
     C20-1024-RSL                                                     EVERETT, WASHINGTON 98201-4060
                                                                        (425)388-6330/FAX: (425)388-6333
              Case 2:20-cv-01024-RSL Document 43 Filed 04/20/21 Page 5 of 5




                                               ORDER
1

2           THIS MATTER having come before the undersigned judge of the above-entitled Court,

3    and based on the foregoing parties’ Joint Stipulation, presented to this Court pursuant to LCR
4
     7(d)(1) and 10(g), now, therefore:
5
            IT IS HEREBY ORDERED that the deadline for reports from expert witnesses under
6
     FRCP 26(a)(2) is extended from July 7, 2021 to August 6, 2021.
7

8
            DATED this 20th day of April, 2021.

9

10

11
                                                  ROBERT S. LASNIK
12                                                United States District Judge

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                                            SNOHOMISH COUNTY
     JOINT STIPULATED MOTION AND [PROPOSED] ORDER                 PROSECUTING ATTORNEY - CIVIL DIVISION
     REGARDING DEADLINE FOR EXPERT REPORTS - 5                        Robert Drewel Bldg., 8th Floor, M/S 504
                                                                               3000 Rockefeller Ave
     C20-1024-RSL                                                     EVERETT, WASHINGTON 98201-4060
                                                                        (425)388-6330/FAX: (425)388-6333
